                            Case 3:18-cr-00115-JAM Document 49 Filed 06/29/18 Page 1 of 3


        AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                     Page I of          3          Pages



                                                UNITED STATES DISTRICT COURT                                       FILED
                                                                            for the
                                                                   District of Connecticut
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                                                                                                            U.S. DISTRICT COURT
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                            United States of America                                                                            •   •          •




                                           v.
                              Michael Worthington
                                                                               )         Case No.   3:18cr115(JAM)
                                                                               )
                                      Defendant

                                                ORDER SETTING CONDITIONS OF RELEASE

        IT IS ORDERED that the defendant's release is subject to these conditions:

~ (1)         The defendant must not violate federal, state, or local law while on release.

'       (2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § l4135a.

         3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making



3   I
        (4)
              any change of residence or telephone number.

              The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
              the court may impose.

                                                          United States District Court
              The defendant must appear at:
                                                                                                Place
               141 Church Street, New Haven, CT 06510

              on                                                       August 2, 2018 at 9:00am
                                                                              Date and Time




~(5)
              If blank, defendant will be notified of next appearance.

              The defendant must sign an Appearance Bond, if ordered.

        The defendant will execute a $50,000 non-surety bond, co-signed by Drew Cosanza.
                                Case 3:18-cr-00115-JAM Document 49 Filed 06/29/18 Page 2 of 3


    AO 1998 (Rev 12/11) Additional Conditions of Release                                                                                 Page   _2_ of _3_   Pages

                                                            ADDITIONAL CONDITIONS OF RELEASE
          IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:



J   (X)    (6)       The defendant is placed in tlw t)jSf ' '~v r1 f·
                     Person or organization          /~1)
                     Address (only if above is an O/'f4ani=alion)
                                                                        •· "\   ')
                                                              t'{)f? ~1/L/ CL'5.t:Jli..ZLJ
              City and state                      -~.._J(l,.,_.,u.::.b'-J~~-'-""'-'(..,_...,___,---.,--------         Tel. No.
who agrees to (a) supervise the defendant, (b) use every el'!'( i(rto assure the defb mlnn · lpCILnl ncc at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian's




                     The defendant must:
            X            submit to supervision by and report for supervision to the United States Probation Office
                         telephone number                            , no later than
            X        (b) continue or actively seek employment.
                     (c) continue or start an education program.
                     (d) surrender any passport to:
            X        (e) not obtain a passport or other international travel document.
            X        (I) abide by the following restrictions on personal association, residence, or travel: "'[_he_ defendant's travel     i§ restricted to CT

            X        (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                         including:

            X        (b) get medical or psychiatric treatment: At the discretion of the Probation Office, the defendant shall be evaluated for
                                   health treatment if aom:g ori te the defe da.!1Ls.ha ll b e referred for mental health tre a tment
                     (i) return to custody each                at          o'clock after being released at        o'clock for employment, schooling,
                         or the following purposes:

                 )
                 (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                     necessary.
          ( X ) (k) not possess a firearm, destructive device, or other weapon.
            X }' (I) not use alcohol (        ) at all ( X ) excessively.
            X) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                     medical practitioner.
            X    (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
                     frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
                     substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
                     substance screening or testing.
            X      (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                       supervising officer.
                 ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                       (    ) (i) Curfew. You are restricted to your residence every day (            ) from                 to _ _ _         , or (      ) as
                                    directed by the pretrial services office or supervising officer; or
                            ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; rei igious services; medical,
                                    substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                                    approved in advance by the pretrial services office or supervising officer; or
                            ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                    court appearances or other activities specifically approved by the court.
                 ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                       requirements and instructions provided.
                       (    ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                              supervising officer.
            X        (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                         arrests, questioning, or traffic stops.
                     (s)



                     Defendant shall comply with all rules of the USPO and all orders of the probation
                     officer. Any failure to comply with any such rules and/or orders shall constitute a
                     violation of these conditions of release and may result in revocation of bond.
                    Case 3:18-cr-00115-JAM Document 49 Filed 06/29/18 Page 3 of 3

AO 199C (Rev . 09/08) Advice of Penalties                                                                       Page    3      of   3   Pages

                                            ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENAL TIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both .
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e,, in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (I) an offense punishable by death, Iife imprisonment, or imprisonment for a term of fifteen years or more -you will be fined
             not more than $250,000 or imprisoned for not more than I 0 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years- you will be fined not
             more than $250,000 or imprisoned for not more than li v years, or both;
       (3) any other felony - you will be fined not more than $2 000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $1 0 00 or imprisoned not more than one year, or both .
       A term of imprisonment imposed for failure to appear or u l'endcr will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forD t! rc of any bond posted.




       l acknowledge that I am the defendant in this case an h ! I am aware of the cond itions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any                      n aware of the penalties and sanctions set forth above.




                                                                                          Defendant 's Signature



                                                                                              City and State



                                                D ire tion to the United States Marshal

(   .; ) The defendant is ORDERED released after processing.
(      ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
         has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
         the appropriate judge at the time and place specified.


Date:             6/12/2018                                                           Is/ Robert M. Spector
                                                                                       Judicial Officer 's Signature

                                                                     Robert M. Spector, United States Magistrate Judge
                                                                                          Printed name and title




                     DISTRIBUTION :     COURT    DEFENDANT       PRETRIAL SERVICE        U.S. ATTORN EY          U.S MARSHAL
